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                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA                                       C
MCARTHUR GRIFFIN                                   §
                                                   §
Plaintiff                                          §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                   §
Versus                                             §
                                                   §
REC MARINE LOGISTICS LLC, ET AL.                   §   TRIAL BY JURY DEMANDED
                                                   §
Defendants                                         §

     STATUS CONFERENCE REPORT ON BEHALF OF DEFENDANTS REC et. al.

The Parties consist of REC Marine Logistics, LLC., a Defendant, who was the employer of
Plaintiff, Griffin, while he was employed as a deckhand on board the MV Dustin Danos, owned
by, but not operated by, Offshore Transport Services, LLC. The remaining Defendants are GOL,
LLC.; a vessel broker which has nothing whatever to do with Griffin or his employment, and it
does not own or operate the MV Dustin Danos; and Gulf Offshore Logistics, LLC, which does
not and has not had any involvement with the plaintiff or the vessel, and does not currently
operate any vessel or conduct any business. It and GOL, LLC, will both seek dismissal by
agreement, or by summary judgment, after initial discovery.

All Defendants are presently represented by:

FRED E. SALLEY, T.A. (11665)
SALLEY & ASSOCIATES
P.O. Box 3549
77378 Hwy 1081 Cretien Annex
Covington, Louisiana 70434
Telephone: (985) 867-8830
Facsimile (985) 867-3368
Counsel for Defendant, REC
Marine Logistics, LLC, et.al

2)     There are no presently pending motions.

3)      This case is currently at the initial status conference stage at which the following settings
are to be set:

Pre-trial conference _____________
Jury trial _____________

 4)     Plaintiff, Griffin, claims he was onboard the MV Dustin Danos, and alleges he was
injured while making a vessel transfer . Defendant believe that this was alleged erroneously by
Griffin, and that no such injury actually occured; or if so, it was minimal and from a non-
      Case
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actionable type of vessel or marine operation that is not actionable by a seaman under either
GML or Jones Act; and the complaint of, and any injury which may have been sustained,
actually is relatable to an injury Griffin sustained at another time and/or place while off the
vessel, and for which, notwithstanding; he received substantial Maintenance & Cure, long term
medical treatments, and payments including M & C.

        In his employment, employment application, and medical exam for work with REC,
Griffin denied, and declined to disclose prior accidents, injuries and disabilities, bringing into
operation, among others legal issues, the McCorpen Rule, and the many subsequent state and
federal court opinions following McCorpin, which blocks his recovery in this matter.

5)     There have been no discovery discussions or settings thus far.


                                             Respectfully Submitted,

                                             //Fred E. Salley

                                             BY:________________________________
                                             FRED E. SALLEY, T.A. (11665)
                                             SALLEY & ASSOCIATES
                                             P.O. Box 3549
                                             77378 Hwy 1081 Cretien Annex
                                             Covington, Louisiana 70434
                                             Telephone: (985) 867-8830
                                             Facsimile (985) 867-3368
                                             Counsel for Defendants REC
                 Case
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Daniel Sheppard

From:                fsalleyA <fsalley@acadiacom.net>
Sent:                Tuesday, May 19, 2020 3:29 PM
To:                  ewd_orders@lamd.uscourts.gov; Daniel Sheppard; Alan Davis
Subject:             Griffin v. REC-CIVIL ACTION NO.: 3:20-92-BAJ-EWD
Attachments:         Rule26state.pdf


Tuesday, May 19, 2020 15:25:27

Please find REC and other co‐defendants Rule 26 statement attached.

Best regards,


Fred E. Salley




‐‐
This email has been checked for viruses by Avast antivirus software.
https://www.avast.com/antivirus




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                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                §                                   E
                                                §
       Plaintiff,                               §
                                                § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                §
       Versus                                   §
                                                §
REC MARINE LOGISTICS LLC, ET AL.                § TRIAL BY JURY DEMANDED
                                                §
       Defendants.                              §

             PLAINTIFF’S SECOND AMENDED NOTICE OF DEPOSITION OF
                    DEFENDANT REC MARINE LOGISTICS, LLC

       PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 30(b)(6), plaintiff will take the

 deposition(s) upon oral examination, to be recorded by stenographic means and/or videotape, at

 the offices of REC Marine Logistics located at 4535 Highway 308, Raceland, Louisiana 70394,

 on the topics listed on the attached Exhibit A. The deposition(s) will commence at 10:00 a.m.

 on Wednesday May 12, 2021 and will continue from day to day until completed. The witness

 will be questioned about and required to offer testimony on behalf of the Defendant concerning

 the topics listed in the attached Exhibit “A”. The witness may be questioned in their individual

 capacity.
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                                       EXHIBIT A
1. Your factual contentions as to the cause of the Incident, what happened leading up to and
    during the Incident, and what happened in response to the Incident.
2. Dealings and communications with Plaintiff.
3. Conditions on the M/V Dustin Danos at the time of the Incident.
4. Your factual contentions as to Plaintiff’s alleged injuries, including but not limited to any
    factual contentions that Plaintiff was not injured, that the Incident did not happen, the
    Plaintiff is faking his injury, and/or that his injury is wholly the result of a pre-existing
    condition.
5. Facts and circumstances surrounding other injuries on the M/V Dustin Danos.
6. Your policies and procedures governing the work going on at the time of the Incident.
7. All compensation and benefits paid to or otherwise available to McArthur Griffin
    (“Griffin”) as an employee of Rec Marine Logistics LLC (“Rec Marine”) as of the year of
    his accident.
8. All actions taken by or on behalf of you upon being informed of the injury to Plaintiff. This
    topic refers to the injury where Griffin was smashed between the large box and the man
    basket. See Personal Incident Status Report with the date June 20, 2018.
9. All efforts taken by or on behalf of you or on its behalf to investigate the accident and
    injury complained of in Plaintiff’s Petition for Damages (including any supplements and
    amendments).
10. A description of the M/V DUSTIN DANOS including, without limitation, the area where
    Plaintiff alleges to have been “smashed between the large box and the man basket.”
11. All interviews taken in connection with Plaintiff’s claim that he was injured while in the
    service of the M/V DUSTIN DANOS on or about May 2018 where he was “smashed
    between the large box and the man basket.”
12. All allegations contained in the “Answer to Complaint” and defenses.
13. A description of any surveillance of Plaintiff, including surveillance that has or will take
    place.
14. Your defenses to the allegations in Plaintiff Petition for Damages (including any
    supplements and amendments).
15. The existence or non-existence of documents supporting Your factual contentions.
16. Your discovery responses, and interpretation of the documents produced.
17. All agreements, written or otherwise, governing the work at the platform at the time of the
    Incident.
18. Your relationship with the other parties to this lawsuit.
19. Ownership and operation of the M/V DUSTIN DANOS during the years 2018 and 2019.
20. Description of all records relating to the ownership, operation, chartering and/or
    maintenance of the M/V DUSTIN DANOS from 2017 until the present.
21. The basis for your refusal to pay maintenance and cure benefits to Plaintiff and a
    description of all documents or other records or things on which You rely upon for Your
    denial.
22. Your knowledge of any defects or potential hazards relating to propelling or moving the
    M/V DUSTIN DANOS
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23. Your knowledge of any defects or potential hazards relating to equipment used in the
    wheelhouse to move and/or propel the M/V DUSTIN DANOS
24. Your knowledge of any defects or potential hazards relating to communications equipment
    used when the crew of the M/V DUSTIN DANOS is conducting a man basket transfer
25. Description of all communications relating in any way to Plaintiff’s alleged accident.
26. Policies changed as a result of Griffin’s incident where he alleges that he was smashed
    between the large box and the man basket.
27. Any information/facts known or reasonably believed to be known by Defendants, Brian
    Harris, Blaine Russell, Michael Hauglund, Joshua Winhauer, William Badeaux, Casey
    Curule, Chris Ryon, David Griffin, Mandy Melancon, Alex Griffin, and Olivia Channing
    concerning any allegation or defense raised in the Petition for Damages (including
    amendments and supplements) and Rec Marine, GOL, Gulf Offshore, and OTS’ Answer.
28. Your answers and responses to Plaintiff’s discovery to you.
29. The basis for your allegation that any damages sustained by Griffin is his “own fault,
    neglect, misconduct, inattention, or breach of duty.”
30. The basis for your allegation that any Griffin failed to “mitigate his damages.”
31. The basis for your allegation that any damages sustained by Griffin were “the result of
    results of the acts and/or omissions, commissions, negligence and/or breach of duty of other
    parties or third parties, over whom defendant had no control and for which acts and/or
    omissions the defendants, serially or individually, has no responsibility, legal or otherwise,
    which contributed in varying combinations and degrees with the negligence, fault and/or
    breach of duty of the plaintiff.”
32. The basis for your allegation that any damages sustained by Plaintiff were the result of
    Plaintiff “normal job, duties, and occupational tasks, without any fault or neglect of these
    defendants, and he is therefore estopped from making claims for normal risks assumed as
    incidental and inherent in the nature of his Jones Act employment.”
33. A description of all liability insurance reasonably believed to provide coverage to the
    owner and/or operator of the vessel on which Plaintiff was injured for claims for personal
    injury such as the claim by Plaintiff herein.
34. All actions taken by or on behalf of you in connection with your hiring of Plaintiff.
35. A description of the jobs held by the crew at the time of Plaintiff’s injury that forms the
    basis of this lawsuit.
36. Job requirements for the job Plaintiff was hired to perform.
37. A description of all pre-hire screening, including medical, of Plaintiff, and the results of
    the screening.
38. A description of the work taking place at the time of Plaintiff’s accident where he alleges
    to have been “smashed between the large box and the man basket.”
39. The company/ies and personnel involved in the work taking place at the time of Plaintiff’s
    accident where he alleges to have been “smashed between the large box and the man
    basket.”
40. The relationship between REC Marine Logistics, LLC, GOL, LLC, Gulf Offshore
    Logistics, LLC, and Offshore Transport Services, LLC, the roles of these companies, and
    the relationship between these companies and Plaintiff.
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                                                 Respectfully Submitted,
                                                 MORROW & SHEPPARD LLP

                                                 /s/Daniel E. Sheppard
                                                 Daniel E. Sheppard
                                                 State Bar No. 38076
                                                 dsheppard@morrowsheppard.com
                                                 All E-Service Copy To:
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                                                 5151 San Felipe, Suite 100
                                                 Houston, Texas 77056
                                                 713.489.1206 tel
                                                 713.893.8370 fax

                                                 CLAYTON, FRUGE & WARD
                                                 Brilliant Clayton (#36829)
                                                 3741 La. Highway 1
                                                 South Port Allen, Louisiana 70767
                                                 (225) 344-7000 (tel)
                                                 (225) 383-7631 (fax)




                              CERTIFICATE OF SERVICE
      I hereby certify that a true and correct copy of this document was served on counsel of
record by email on May 7, 2021.


                                                 /s/Daniel E. Sheppard
                                                 Daniel E. Sheppard
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                          UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA                                       F
MCARTHUR GRIFFIN                                 §
                                                 §
       Plaintiff                                 §
                                                 § CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                                 §
       Versus                                    §
                                                 §
REC MARINE LOGISTICS LLC, ET AL.                 § TRIAL BY JURY DEMANDED
                                                 §
       Defendants                                §

                   PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION

       Pursuant to Federal Rules of Civil Procedure, Plaintiff submits these requests for

production and interrogatories to (a) Rec Marine Logistics, LLC; (b) Gulf Offshore Logistics,

LLC; (c) GOL, LLC; and (d) Offshore Transport Services, LLC upon which they are served.

Within thirty (30) days after service of these requests, Defendants must (a) respond to each request

and interrogatory separately in writing, and (b) produce the documents or things requested herein

to Daniel E. Sheppard at the offices of Morrow & Sheppard LLP.
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                                         DEFINITIONS

           1. “Plaintiff” means McArthur Griffin.1

            2. “Defendant(s)” means, Rec Marine Logistics, LLC; Gulf Offshore Logistics, LLC;
    Gol, LLC; And Offshore Transport Services, LLC, as well as their affiliates, divisions, parents,
    subsidiaries, predecessors, successors, assigns, assignees, officers, directors, representatives,
    agents, employees, partners, and any other persons or entities acting on their behalf.

            3. “Incident” refers to the incident on or about May 2018 involving Plaintiff and made
    the basis of this Lawsuit and the events giving rise to the Incident.

           4. “Lawsuit” shall refer to this lawsuit.

           5. “You” or “Your” shall refer to the Defendant.

            6. “Documents” shall mean all documents an tangible things, in the broadest sense
    allowed under the Federal Rules of Civil Procedure, including but not limited to every original
    (or copies if you do not have originals) and each non identical copy, whether different from
    the original because of marginal notes or other material inserted or attached, and drafts and
    both sides of any written, printed, typed, recorded or graphic matter, however produced or
    reproduced, of any kind or description, including all attachments and appendices, whether sent
    or received or neither, including, but not limited to: books, records, papers, pamphlets,
    brochures, circulars, advertisements, drawings, sketches, graphs, charts, plans, ledger
    accounts, audits, financial statements, annual or other periodic reports, permits, calendars,
    appointment books, diaries, telephone bill and toll card records, expense reports, itineraries,
    agendas, checkbooks, canceled checks, receipts, contracts, agreements, instruments,
    assignments, applications, offers, acceptances, proposals, financing statements, documents of
    title, appraisals, purchase orders, invoices, bills of lading, written memorials of oral
    communications, recasts, photographs, photographic slides or negatives, films, filmstrips,
    tapes, recordings, electronic mail, text messages, instant messages, Facebook messages,
    Twitter messages, other social media messages, CDs, DVDs, X-rays, and any other
    information stored in, or accessible through, computer or other information storage or retrieval
    systems. If the information is kept in a computer or informational storage or retrieval system,
    the term also includes copies and programming instructions and other materials necessary to
    understand such systems.

            7. “Relating to,” “related to,” “regarding,” or “referring to” shall mean directly or
    indirectly mentioning or describing, discussing, pertaining to, being connected with, or
    reflecting upon, in whole or in part, the stated subject matter.

           8. “Communication(s)” shall mean any transmittal or exchange of information
    between two or more persons, whether orally or in writing, including without limitation any
    conversation by means of letter, note, memorandum, telephone, telegraph, telex, telecopies,

1Documents produced by Defendants name Plaintiff as McArthor Griffin. The definition for
Plaintiff includes McArthor Griffin.
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cables or some other electronic or other medium.

       9. “And” and “or” shall be construed conjunctively or disjunctively as necessary to
make the request inclusive rather than exclusive.

         10. Unless otherwise indicated, documents requested herein are documents referring
to, relating to, or prepared during the last ten years.

                                  INSTRUCTIONS

        1. Please produce all responsive documents in the same file or organizational
environment in which they are maintained. For example, produce a document that is part of a
file or other grouping together with all other documents from the file or other grouping
responsive to the request, in the same order or manner of arrangement as the original.

        2. These requests specifically call for production of electronic and magnetic data
responsive to the request in addition to physical documents or objects. Please produce such
electronic and magnetic date in its native format. When producing electronic documents,
please identify the software and version number needed to review the electronic data.

       3. If a privilege is claimed with regard to any material or information, provide a
description of the withheld material or information in compliance with Federal Rule of Civil
Procedure 26(b)(5) within 15 days.
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      PLAINTIFF’S REQUESTS FOR PRODUCTION TO REC MARINE LOGISTICS,
        LLC; GULF OFFSHORE LOGISTICS, LLC; GOL, LLC; AND OFFSHORE
                        TRANSPORT SERVICES, LLC

REQUEST 1: Produce all Documents supporting Defendants’ contention that Plaintiff
intentionally concealed and/or misrepresented pertinent medical facts prior to his employment.
This request seeks information related to Defendants’ claimed McCorpen defense. See McCorpen
v. Central Gulf Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).
REQUEST 2: Produce all Documents reflecting the pre-employment disclosure of medical facts
and/or pre-existing injuries for persons hired by Defendants, as well as any Documents reflecting
the Defendants’ discussion/analysis of such facts or injuries before they were hired. For the
purposes of this request for production, the Documents being requested are those for employees
that worked aboard vessels owned, operated, controlled, and/or managed by Defendants and/or for
persons hired that were/are classified as seamen. This request seeks information related to
Defendants’ claimed McCorpen defense. See McCorpen v. Central Gulf Steamship Corp., 396
F.2d 547, 548 (5th Cir. 1968).
REQUEST 3: Produce all Documents supporting Defendants’ contention that Plaintiff’s alleged
intentional concealment and/or misrepresentation of pertinent medical facts materially affected
Defendants’ decision to hire Plaintiff. This request seeks information related to Defendants’
claimed McCorpen defense. See McCorpen v. Central Gulf Steamship Corp., 396 F.2d 547, 548
(5th Cir. 1968).
REQUEST 4: Produce all Documents related to incidents that resulted in injuries sustained in
connection with a basket transfer to or from a vessel owned, operated, controlled, and/or managed
by Defendants.

      PLAINTIFF’S SECOND INTERROGATORIES TO REC MARINE LOGISTICS,
        LLC; GULF OFFSHORE LOGISTICS, LLC; GOL, LLC; AND OFFSHORE
                        TRANSPORT SERVICES, LLC

INTERROGATORY 1: Identify by Bates number all Communications from Plaintiff that
Defendants’ contend constitutes intentional concealment and/or misrepresented pertinent medical
facts by Plaintiff that materially affected Defendants decision to hire Plaintiff. This interrogatory
seeks information related to Defendants claimed McCorpen defense. See McCorpen v. Central
Gulf Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).

INTERROGATORY 2: Identify and fully explain the alleged factual causal link between the
alleged concealed pre-existing injuries and Plaintiff’s claimed injuries. This interrogatory seeks
information related to Defendants claimed McCorpen defense. See McCorpen v. Central Gulf
Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).

INTERROGATORY 3: Identify all persons who disclosed medical facts and/or pre-existing
injuries before they were hired.
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                                                    Respectfully Submitted,
                                                    MORROW & SHEPPARD LLP

                                                    /s/Daniel E. Sheppard
                                                    Daniel E. Sheppard
                                                    State Bar No. 38076
                                                    dsheppard@morrowsheppard.com
                                                    All E-Service Copy To:
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                                                    Houston, TX 77098
                                                    713.489.1206 tel
                                                    713.893.8370 fax

                                                    CLAYTON, FRUGE & WARD
                                                    Brilliant Clayton (#36829)
                                                    3741 La. Highway 1
                                                    South Port Allen, Louisiana 70767
                                                    (225) 344-7000 (tel)
                                                    (225) 383-7631 (fax)




                                CERTIFICATE OF SERVICE
I hereby certify that a true and correct copy of this document was served on counsel of record by
email on March 2, 2021.


                                                    /s/Daniel E. Sheppard
                                                    Daniel E. Sheppard
      Case 3:20-cv-00092-BAJ-EWD              Document 77-1       07/07/21 Page 33 of 42




                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA                                G


MCARTHUR GRIFFIN                                   CIVIL ACTION NO: 3:20-cv-00092
                               Plaintiff
                                                   DISTRICT JUDGE:
VERSUS                                             HON. BRIAN A. JACKSON

REC MARINE LOGISTICS, LLC, ET                      MAGISTRATE JUDGE:
AL                                                 HON. ERIN WILDER-DOOMES
                      Defendants


  REC MARINE LOGISTICS, LLC, GOL, LLC, GULF OFFSHORE LOGISTICS, LLC
       AND OFFSHORE TRANSPORT SERVICES, LLC’S RESPONSES TO
 PLAINTIFF’S SECOND REQUESTS FOR PRODUCTION AND INTERROGATORIES

       NOW INTO COURT, through undersigned counsel, come defendants, REC Marine

Logistics, LLC (REC), GOL, LLC (“GOL”), Gulf Offshore Logistics, LLC (“Gulf Offshore”), and

Offshore Transport Services, LLC (“Offshore Transport”) (hereinafter sometimes collectively

referred to as “Defendants”), who respond to the Second Requests for Production and

Interrogatories propounded by Plaintiff, McArthur Griffin (“Plaintiff”), as follows:

                                    GENERAL OBJECTIONS

       Defendants generally objects to Plaintiff’s Second Requests for Production and

Interrogatories as follows:

       1.      Defendants generally object to the discovery requests as they seek the knowledge

               of a business over the period of its existence. An entity in and of itself, possesses

               no knowledge except through its various agents or employees, each of whom may

               possess different levels of knowledge or understanding as to any given matter at

               any given time.
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 2.   Discovery and investigation in this case are continuing. The right to supplement

      and amend these responses with additional information, or if errors are

      discovered, is specifically reserved. These responses are also given without

      prejudice to defendants’ rights to rely at trial on subsequently discovered

      information or information inadvertently omitted in these responses as a result of

      mistake, error or oversight.

 3.   These responses are made solely for the purposes of the instant action. They are

      subject to all objections as to competence, relevance, materiality, propriety and

      admissibility, and any and all objections and grounds that would require the

      excluding of any statements contained herein at trial.

 4.   Defendants generally object to the discovery to the extent that it seeks information

      that is protected from discovery by the attorney-client privilege, the attorney work

      product doctrine or the anticipation of litigation privilege. Defendants generally

      object to the extent that the discovery seeks information which is irrelevant and

      immaterial to the subject matter of this lawsuit and is not reasonably calculated to

      lead to the discovery of admissible evidence. Furthermore, by providing responses

      to the discovery requests, Defendants do not waive any objections as to the

      admissibility at trial.

 5.   Defendants generally object to the extent that the discovery seeks the disclosure

      of the mental impressions, conclusions, memoranda, notes or summaries, legal

      research or legal theories of defendants’ attorneys, and to the extent that the

      discovery requires disclosure of the mental impressions, conclusions or opinions




                                        2
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               of defendants’ representatives insofar as they relate to the value or merit of a

               claim or defense respecting strategy or tactics.

       6.      Defendants object to this discovery insofar as it seeks confidential business

               information without any showing of need that would justify requiring defendants

               to make such disclosure.

                         RESPONSES TO REQUESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1:

       Produce all Documents supporting Defendants’ contention that Plaintiff intentionally
concealed and/or misrepresented pertinent medical facts prior to his employment. This request
seeks information related to Defendants’ claimed McCorpen defense. See McCorpen v. Central
Gulf Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).

RESPONSE TO REQUEST FOR PRODUCTION NO. 1:

       See attached lawsuits involving plaintiff, (bates labeled REC 1863-1893 and 1894-1898) . In

addition, see plaintiff’s personnel file previously produced. Lastly, see pre-employment physical

records previously produced from Complete Occupational Health Services (bates labeled REC

1173-1188). Defendants reserve the right to supplement this response as discovery proceeds.

REQUEST FOR PRODUCTION NO. 2:

        Produce all Documents reflecting the pre-employment disclosure of medical facts and/or
pre-existing injuries for persons hired by Defendants, as well as any Documents reflecting the
Defendants’ discussion/analysis of such facts or injuries before they were hired. For the purposes of
this request for production, the Documents being requested are those for employees that worked
aboard vessels owned, operated, controlled, and/or managed by Defendants and/or for persons hired
that were/are classified as seamen. This request seeks information related to Defendants’ claimed
McCorpen defense. See McCorpen v. Central Gulf Steamship Corp., 396 F.2d 547, 548 (5th Cir.
1968).




                                                 3
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RESPONSE TO REQUEST FOR PRODUCTION NO. 2:

        Defendants object to Request No. 2 in that it seeks the confidential medical information of

individuals who are not parties to this litigation. Defendants further object to Request No. 2 in that it

is overly broad, unduly burdensome, and not proportional to the needs of this case. The Request is

not limited in time. Furthermore, plaintiff was not (nor has he ever been) employed by GOL, Gulf

Offshore, or Offshore Transport. Accordingly, any employment records maintained by any of these

entities have no conceivable relevance to this case.

REQUEST FOR PRODUCTION NO. 3:

        Produce all Documents supporting Defendants’ contention that Plaintiff’s alleged intentional
concealment and/or misrepresentation of pertinent medical facts materially affected Defendants’
decision to hire Plaintiff. This request seeks information related to Defendants’ claimed McCorpen
defense. See McCorpen v. Central Gulf Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).

RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

        See plaintiff’s personnel file previously produced.

REQUEST FOR PRODUCTION NO. 4:

        Produce all Documents related to incidents that resulted in injuries sustained in connection
with a basket transfer to or from a vessel owned, operated, controlled, and/or managed by
Defendants.

RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

        Defendants object to Request No. 4 in that it seeks the production of documents which are

neither relevant, nor likely to lead to the discovery of admissible evidence. Defendants further

object to Request No. 4 in that it is overly broad, unduly burdensome, and not proportional to the

needs of the case. More particularly, Request No. 4 is not limited in time, and seeks documents from

entities which neither employed the plaintiff nor owned/operated the vessel onboard which he was

allegedly injured. The Request also seeks the production of documents for vessels other than the one



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on which plaintiff was allegedly injured, and would require REC Marine to search through the

records of an entire fleet of vessels in order to respond to the Request as written.

                                  ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

        Identify by Bates number all Communications from Plaintiff that Defendants’ contend
constitutes intentional concealment and/or misrepresented pertinent medical facts by Plaintiff
that materially affected Defendants decision to hire Plaintiff. This interrogatory seeks
information related to Defendants claimed McCorpen defense. See McCorpen v. Central Gulf
Steamship Corp., 396 F.2d 547, 548 (5th Cir. 1968).

ANSWER TO INTERROGATORY NO. 1:

        See documents referenced in response to Request for Production No. 1 above.

INTERROGATORY NO. 2:

        Identify and fully explain the alleged factual causal link between the alleged concealed pre-
existing injuries and Plaintiff’s claimed injuries. This interrogatory seeks information related to
Defendants claimed McCorpen defense. See McCorpen v. Central Gulf Steamship Corp., 396 F.2d
547, 548 (5th Cir. 1968).

ANSWER TO INTERROGATORY NO. 2:

        According to the Plaintiff’s Petition, he claims to have sustained injuries to various parts of

his body, including, but not limited to, injuries to his back and neck. Upon information and belief,

plaintiff sustained injuries to his low back, back, neck, and other parts of his body in prior accidents

for which he has filed suit. See response to Request No. 1 for further information.

INTERROGATORY NO. 3:

       Identify all persons who disclosed medical facts and/or pre-existing injuries before they
were hired.

ANSWER TO INTERROGATORY NO. 3:

        Defendants object to Interrogatory No. 3 in that it seeks information which is neither

relevant, nor likely to lead to the discovery of admissible evidence. Defendants further object to


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Interrogatory No. 3 in that it is overly broad, unduly burdensome, and not proportional to the needs

of the case. More particularly, Interrogatory No. 3 is not limited in time, and seeks information from

entities which did not employ the plaintiff. Even if a response was appropriate, such would require

four separate companies to search through the personnel files of all individuals ever employed by

those companies to determine whether said individuals disclosed “medical facts and/or pre-existing

injuries.” Furthermore, this Interrogatory seeks confidential medical information of individuals who

are not parties to this litigation.

                                                       Respectfully submitted:




                                                       Salvador J. Pusateri T.A. (#21036)
                                                       Kyle A. Khoury (#33216)
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                                                       ATTORNEYS FOR GOL, LLC, REC
                                                       MARINE LOGISTICS, LLC, GULF
                                                       OFFSHORE LOGISTICS, LLC, and
                                                       OFFSHORE TRANSPORT SERVICES, LLC




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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 28th day of April, 2021, I served the foregoing document by
electronic means (email) upon all counsel of record in this case.




                                __________________________




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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA                                  H

 MCARTHUR GRIFFIN                                     CIVIL ACTION NO: 3:20-cv-00092
                                 Plaintiff
                                                      DISTRICT JUDGE:
 VERSUS                                               HON. BRIAN A. JACKSON

 REC MARINE LOGISTICS, LLC, ET                        MAGISTRATE JUDGE:
 AL                                                   HON. ERIN WILDER-DOOMES
                       Defendants



                      VESSEL DEFENDANTS’ AMENDED ANSWER

       NOW INTO COURT, through undersigned counsel, come defendants, REC Marine

Logistics, LLC, GOL, LLC, Gulf Offshore Logistics, LLC, and Offshore Transport Services, LLC

(hereinafter sometimes collectively referred to as the “Vessel Defendants”), who hereby amend

their previously-filed Answer (Rec. Doc. 14) in the following respects:

                                                 1.

       Prior to removal of this case to Federal Court, Plaintiff filed an Original Petition for

Damages (the “Original Petition) and a First Supplemental and Amended Petition for Damages

(the “Amended Petition”) in the 19th Judicial District Court for the Parish of East Baton Rouge.

The only difference between the Original Petition and the Amended Petition was the addition of

two new defendants, namely Offshore Transport Services, LLC and QBE Insurance (Europe)

Limited. Upon removal of the case to this Court, the Vessel Defendants filed an Answer. (Rec.

Doc. 14). While the originally-filed Answer did not specify that it was an Answer to the Original

Petition and the Amended Petition, it was clearly intended as such given that the Answer was also

filed on behalf of Offshore Transport Services, LLC, which was not a defendant until plaintiff filed

his Amended Petition. Accordingly, defendants simply wish to note that the Answer which was
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filed upon removal of the case to this Court was meant to serve as an Answer to both the Original

Petition and the Amended Petition.

                                                2.

       Both the Original Petition and the Amended Petition contain two paragraphs labeled as

“X.” Defendants wish to clarify that their denial of the allegations in Paragraph X is a denial of

the allegations in both paragraphs labeled as “X.”

                                                3.

       Due to the non-sequential numbering of the above-referenced paragraphs, Defendants

inadvertently omitted a response to Paragraph IX. Defendants deny the allegations contained in

Paragraph IX of the Original Petition and the Amended Petition.

                                                4.

       REC Marine Logistics, LLC, as the plaintiff’s employer, wishes to add the following

affirmative defense to the previously-filed Answer:

                                       NINTH DEFENSE

       Plaintiff is not qualified for maintenance and cure benefits under the U.S. Fifth Circuit’s

decision in McCorpen v. Cent. Gulf S.S. Corp., 396 F.2d 547 (5th Cir. 1968).

       WHEREFORE, the premises considered, Vessel Defendants, REC Marine Logistics,

LLC, GOL, LLC, Gulf Offshore Logistics, LLC, and Offshore Transport Services, LLC, pray that

this, their Amended Answer, be deemed good and sufficient and that after due proceedings are

had, that this Court issue judgment in Vessel Defendants’ favor and against plaintiff, dismissing

plaintiff’s Original Petition and Amended Petition at plaintiff’s costs, and that Vessel Defendants

be granted such other and further relief as equity and justice of the cause may require and permit.




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                                    Respectfully submitted,


                                    /s/ Kyle A Khoury
                                    Salvador J. Pusateri, T.A. (#21036)
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                                    OFFSHORE LOGISTICS, LLC, AND
                                    OFFSHORE TRANSPORT SERVICES,
                                    LLC




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